     Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 1 of 11
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                    IN THE UNITED STATES DISTRICT COURT             September 21, 2021
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                     Nathan Ochsner, Clerk
                              HOUSTON DIVISION



CORY BURGESS,                           §
                                        §
                    Plaintiff,          §
                                        §
V.                                      §       CIVIL ACTION NO. H-21-1954
                                        §
COLE ABA SOLUTIONS, INC.,               §
                                        §
                    Defendant.          §




                       MEMORANDUM OPINION AND ORDER



      Plaintiff Cory Burgess ("Plaintiff") asserts claims against

defendant    Cole    ABA   Solutions,   Inc.     ("Defendant")    for     gender

discrimination,       disability   discrimination,      and   hostile         work

environment in violation of Ti              VII of the Civil Rights Act of

1964, as amended, 42 U.S.C.§ 2000e, et seq. ("Title VII"); Title 2

of the Texas Labor Code, Tex. Lab. Code§ 21.001, et seq.; and the

Americans with Disabilities Act of 1990,            as amended,    42 U.S.C.

§ 12101, et seq.1       Pending before the court is Defendant 1 s Motion

to Dismiss, or in the Alternative, to Stay Proceedings and Compel

Arbitration and Brief in Support ("Defendant's Motion to Compel")

 (Docket Entry No. 4). For the reasons explained below, Defendant's

Motion to Compel will be granted.



      Plaintiff's Original Complaint, Docket Entry No. 1, pp. 7-10
      1

�1 22-40.    For purposes of identification all page numbers
reference the pagination imprinted at the top of the page by the
court's Electronic Case Filing ("ECF") system.
    Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 2 of 11



                 I.    Factual and Procedural Background

     Plaintiff        was   jointly     employed    by      Defendant    and   G&A

Outsourcing II, LLC d/b/a G&A Partners ("G&A"). 2             G&A is a licensed

professional employer organization, which performs certain human

resources functions for Defendant, including payroll processing and

benefits administration of joint employees like Plaintiff. 3                   The

Agreement     required      Plaintiff   to    use   G&A's    Alternate    Dispute

Resolution Plan - Mediation and Arbitration Policy ("ADR Plan")4 to

resolve all disputes between Plaintiff and Defendant:

     Dispute Resolution. To the fullest extent permitted by
     law,   1 disputes between you and G&A or between you and
     all Clients to which you are assigned shall be resolved
     in accordance with the G&A Alternate Dispute Resolution
     Plan, a copy of which will be provided to you upon your
     request.

Agreement, Exhibit A to Defendant's Motion to Compel, Docket Entry

No. 4-1, p. 3.

     The ADR Plan reiterates its applicability to all disputes

between Plaintiff and Defendant, including employment discrimina­

tion claims:

     7.      The Company's Mediation and Arbitration Policy
             covers any and all legal or equitable claims that
             the Employee may assert against the Company,
             including but not limited to        claims arising
             pursuant to any federal, state or local law,
             discrimination and retaliation under        VII of

     2
      Employment Agreement ("Agreement"), Exhibit A to Defendant's
Motion to Compel, Docket Entry No. 4 1, p. 2.
     3
         See id. at 2-3.
     4
     ADR Plan, Exhibit B to Defendant's Motion to Compel, Docket
Entry No. 4-2.
                                        -2-
    Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 3 of 11



                the   Civil Rights Act of 1964,         as amended,
                        claims under the Americans With Disabilities
                Act         retaliation claims under applicable
                state    workers'    compensation    laws,    sexual
                harassment, defamation, intentional infliction of
                emotional distress, and disputes arising out of or
                relating to the interpretation or application of
                this Policy

ADR Plan, Exhibit B to Defendant's Motion to Compel, Docket Entry
No. 4 2, p. 3          1    7.

     The ADR Plan also explains that Plaintiff's employment with
G&A and Defendant would constitute consent to be bound by the
Mediation and Arbitration Policy:
     14.        Employment or continued employment after the
                effective date of the Company's Mediation and
                Arbitration Policy constitutes consent by
                Employee to be bound by this Policy, both during
                the employment and after termination of employment.
Id. at 4    1    14.

     Plaintiff signed                    Agreement on June 17,     2 019, 5 when he

began working for Defendant as the Clinic Supervisor at Defendant's
location in Cypress, Texas. 6
     Plaintiff states that he became romantically involved with a
subordinate employee at                  Cypress location. 7   Plaintiff moved to
Defendant's Spring, Texas, location on March 2, 2020. 8                   Plaintiff
alleges     that           Defendant's    leadership   disclosed    his   romantic

     5
      Agreement, Exhibit A to Defendant's Motion to Compel, Docket
Entry No. 4 1, p. 3.
     6
         Plaintiff's Original Complaint, Docket Entry No. 1, p. 2             1   6.

             at   3    1    8.

             at 2      1 7.
                                            -3-
    Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 4 of 11




relationship to staff at the Spring location, that the staff did

not approve of the relationship,          and   that he felt     "that the

environment was becoming hostile." 9      Plaintiff alleges that he was

excluded from meetings, that his supervisor would take more time

than expected to respond to his emails and texts, 10 that he was

"slandered" and subjected to "discriminatory remarks" by employees

at the Spring location, 11 that he was unfairly blamed for the

termination of· a female employee, 12 that he was "the only employee

to be written up for having late notes" though other employees

turned their notes in late,13 and that he was unfairly written up

for failing to timely enter hours into the billing system.14

     Plaintiff states that on November 9, 2020, he was involved in

an automobile accident that injured his neck and that he filed for

emergency medical leave as a result.15          Plaintiff alleges that he

was fired on March 26, 2021, while he was still on medical leave.16



     9   Id. at 4 � 11.
     lOid.

     11  Id. � 12.
     12Id. at 4-5
                  � 14.
    13Id. at 6
               � 17.
     14Id.       18.
             �
     1srd. at 7
                � 20.
     16Id.

                                    -4-
     Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 5 of 11



          Plaintiff filed his Original Complaint on June 15,                    2021.17

Defendant filed Defendant's Motion to Compel on August 12, 2021.18

Plaintiff filed a response on September 1, 2021, 19 and Defendant

replied on September 8, 2021.20


                                  II.   Legal Standard

          In enacting the Federal Arbitration Act                  ("FAA"),   9 U.S.C.

§§   1,     et seq. ,     Congress      "expressed    a   strong    policy     favoring

arbitration before litigation,               and the courts are bound to take

notice      of    this    broad    policy    as    well   as   specific       statutory

provisions in dealing with arbitration clauses in contracts."

J.S. & H. Construction Co. v. Richmond County Hospital Authority,

473 F.2d 212, 214-215 (5th Cir. 1973).                The FAA provides that "[a]

written provision in any                     contract evidencing a transaction

involving         commerce   to     settle    by     arbitration      a   controversy

thereafter arising out of such contract or transaction                          . shall

be valid, irrevocable, and enforceable, save upon such grounds as

exist at law or in equity for the revocation of any contract."

9 u.s.c.      §   2.     Section 4 of the FAA permits a party to seek an


      17
           Plaintiff's Original Complaint, Docket Entry No. 1.
      18
           Defendant's Motion to Compel, Docket Entry No. 4.

      Plaintiff's Response in Opposition of Defendant's Motion to
      19

Compel Arbitration and Dismiss Plaintiff's Complaint ("Plaintiff's
Response"), Docket Entry No. 6.

      Defendant's Reply in Support of its Motion to Dismiss, or in
      20

the Alternative, to Stay Proceedings and Compel Arbitration
("Defendant's Reply"), Docket Entry No. 7.

                                            -5-
    Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 6 of 11



order compelling arbitration if the other party has failed to

arbitrate under a written agreement.             9 u.s.c.    §   4.    "The party

resisting arbitration bears the burden of showing that he is

entitled to a jury trial under    §   4 of the Arbitration Act."             Dillard

v. Merrill Lynch, Pierce, Fenner       &    Smith, Inc., 961 F.2d 1148, 1154

(5th Cir. 1992) (internal quotations and citation omitted).

     Courts apply a two-step inquiry when ruling on a motion to

compel arbitration.     Edwards v. Doordash, Inc., 888 F.3d 738, 743

(5th Cir. 2018) (citing Klein v. Nabors Drilling USA L.P., 710 F.3d

234, 236 (5th Cir. 2013)).     "First, the court asks whether there is

a valid agreement to arbitrate and, second, whether the current

dispute falls within the scope of a valid agreement."                  Id.

     "Determining whether there is a valid arbitration agreement is

a question of state contract law and is for the court."                Huckaba v.

Ref-Chem, L.P., 892 F.3d 686, 688 (5th Cir. 2018) (citing Kubala v.

Supreme Production Services, Inc.,            830 F.3d 199,      202    (5th Cir.

2016)).   "[T]he party moving to compel arbitration must show that

the agreement meets all of the requisite contract elements."                    Id.

The movant must only prove the existence of an agreement by a

preponderance of the evidence.        Grant v. Houser, 469 F. App'x 310,

315 (5th Cir. 2012).

     "[I]n step two of the analysis, determining the scope of a

valid arbitration agreement                  we apply the federal policy and

resolve ambiguities in favor of arbitration."               Klein, 710 F.3d at

237 (internal citation omitted)              "[W]hen a court interprets []

                                      -6-
      Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 7 of 11



provisions in an agreement covered by the FAA, 'due regard must be

given to the federal policy favoring arbitration, and ambiguities

as to the scope of the arbitration clause itself resolved in favor

of arbitration.'"       Mastrobuono v. Shearson Lehman Hutton, Inc., 115

S. Ct. 1212, 1218 (1995) (quoting Volt Information Sciences, Inc.

v. Board of Trustees of Leland Stanford Junior University, 109

S. Ct. 1248, 1254 (1989))


                               III.   Analysis

       Plaintiff does not dispute that he signed the Agreement, which

by its terms includes the ADR Plan.            Nor does Plaintiff dispute

that his claims fall within the scope of the ADR Plan.                        Because

Plaintiff's claims are for gender and disability discrimination21

and the ADR        Plan expressly encompasses gender and disability

discrimination claims, 2 2 the court concludes that Plaintiff's claims

are within the scope of the ADR Plan.                Plaintiff raises two

arguments in response to Defendant's Motion to Compel:                        ( 1)   the

arbitration agreement is invalid for lack of consideration; 23 and

(2)   Defendant cannot enforce the ADR Plan Mediation and Arbitration

Policy because Defendant is not a party to it. 24



       21
            Plaintiff's Original Complaint, Docket Entry No. 1, pp. 7-10
�� 22-40.

      ADR Plan, Exhibit B to Defendant's Motion to Compel, Docket
       22

Entry No. 4-2, p. 3 � 7.
       23
            Plaintiff' s Response, Docket Entry No.    6,   p.   3   �   8.

       24
            Id. � 7.
                                      -7-
     Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 8 of 11



A.    The Agreement Is Valid and Supported by Adequate Consideration

      Plaintiff argues that the Agreement "fails for lack of
consideration" because "[t] here is no evidence that                        G&A

compensated Plaintiff for signing the agreement; or effectuated
some sort of bargain­           exchange to Plaintiff prior to signing the
G&A agreement."25
      Because the part             do not dispute the existence of the
Agreement, Plaintiff bears the burden of proving that the Agreement
is not valid.         See Carter v. Countrywide Credit Industries, Inc.,
362 F.3d 294, 297 (5th            . 2004) ("[A] party seeking to invalidate
an arbitration agreement bears the burden of establishing its

invalidity.                  [IJndividuals seeking to avoid the enforcement
of an arbitration agreement face a high bar.•).
      An offer of at-will employment is             id consideration under
Texas contract law.          Hadnot v. Bay, Ltd., 344 F.3d 474, 477 78 (5th
Cir. 2003) (citing In re Halliburton Co., 80 S.W.3d 566, 569 (Tex.
2002)). Moreover, "[mJutual agreement to arbitrate claims provides
sufficient consideration to support an arbitration agreement."
In re 24R, Inc., 324 S.W.3d 564, 566 (Tex. 2010) (citing In re U.S.
Home Corp., 236 S.W.3d 761, 764 (Tex. 2007)).
           Agreement provided Plaintiff with an offer of at-will
employment. 26        This         constitutes valid consideration.


            �    8.

      Agreement, Exhibit A to Defendant 1 s Motion to Compel, Docket
     26

Entry No. 4 1, p. 2 ("Your employment with both G&A and Client is
entirely at-will, unless otherwise prohibited by law.").
                                        -8-
       Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 9 of 11



Hadnot, 344 F.3d at 477 78.              The Agreement also provided that "all

disputes between you and G&A or between you and all Clients to
which you are assigned                 1 be resolved         accordance with the G&A
Alternate       Dispute       Resolution      Plan              1127
                                                                         The      ADR    Plan
contains a mutual promise to arbitrate claims:                         "[m]ediation and
binding arbitration shall be the exclusive methods by which the

part          may assert claims covered by                      Policy against each

other." 28        This       is        icient       consideration      to    support       an
arbitration agreement.               See 24R, Inc., 324 S.W.3d at 566.


B.     Defendant Is Entitled to Demand Arbitration

       Plaintiff argues that Defendant cannot demand arbitration
because        "the    G&A        Agreement    is    limited    to     the       employment
relationship          between        [Plaintiff]       and     G&A     Partners" 29       and
"[Defendant] was not a signatory to the G&A Agreement                                     and
the agreement makes c                 that it is independent of any agreements
with other parties." 30                court is not persuaded by this argument.
       Although Plaintiff implies that Defendant is not the "Client"
referred to in the Agreement, 31 that argument lacks merit                              light

               at 3.
      ADR Plan, Exhibit B to Defendant's Motion to Compel, Docket
       28

Entry No. 4-2, p. 3 1 9.
       29
            Plaintiff's Response, Docket Entry No. 6, p. 3                   1   7.
               at 4    1 9.
      See id. 1 8 (stating that Defendant "is not named as a
       31

Client, or even a signatory on the G&A Agreement") ; and 1 10
(referring to an "absence of proof as to whether Defendant Cole ABA
Solutions is a client of G&A").
                                              -9-
    Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 10 of 11



of the terms of the Agreement and Plaintiff's own admissions and

allegations.      Pursuant to its terms, the Agreement governed the
relationship between Plaintiff and both of his co-employers, G&A and
"the Client."32 Plaintiff admits he signed the Agreement on June 17,
2019.33    The Agreement states that Plaintiff would be co-employed by
G&A and the "Client."34       Plainti      also alleged in his Original
Complaint that Defendant became his employer on June 17, 2019.35 The
court therefore concludes that Defendant may enforce the Agreement

because Defendant is the "Client" referred to in the Agreement. 36
     The Agreement provides that Defendant is "co-employer and also
third party beneficiary of this Agreement. "37        In the Fifth Circuit


     32 See Agreement, Exhibit A to Defendant's Motion to Compel,
Docket Entry No. 4-1, p. 2 ("You are co-employed by [G&A] and
Client to perform services for Client.          No agreement that
imposes conditions of employment or employment termination
different from those of this Agreement will be valid unless it is
in a writing signed by the President or Vice President of G&A.").
      See Plaintiff's Response, Docket Entry No. 6, p. 3 1 8
     33

(arguing that there is no evidence that G&A "compensated Plaintiff
for signing the agreement"); see also Agreement, Exhibit A to
Defendant's Motion to Compel, Docket Entry No. 4-1, p. 3 (showing
Plaintiff's signature and the date at the bottom of the page).
      Agreement, Exhibit A to Defendant's Motion to Compel, Docket
     34

Entry No. 4-1, p. 2.
     35
          Plaintiff's Original Complaint, Docket Entry No. 1, p. 2      1   6.
      This conclusion is corroborated by the two declarations that
     36

Defendant submitted along with its Reply.       See Declaration of
Amaury Colon, Exhibit 1 to Defendant's Reply, Docket Entry No. 7-1,
p. 3 1 7 ("Cole ABA Solutions is the 'Client' referenced in the
Employment Agreement."); Declaration of Jason Stark, Exhibit 2 to
Defendant's Reply, Docket Entry No. 7-2, p. 2 1 5 (same).
      Agreement, Exhibit A to Defendant's Motion to Compel, Docket
     37

Entry No. 4-1, p. 2.
                                    -10-
     Case 4:21-cv-01954 Document 8 Filed on 09/21/21 in TXSD Page 11 of 11



non-signatories may enforce arbitration provisions if they were

intended third-party                iciaries of the agreement in question.

See Bridas S.A.P.I.C. v. Turkmenistan, 345 F.3d 347, 356 (5th Cir.

2003)    (listing "third-party beneficiary" as one of six theories

recognized         for   binding    a   non-signatory     to   an   arbitration

agreement).        The court therefore concludes that Defendant may also

enforce the terms of the Agreement as a third-party beneficiary.


C.      The Court Will Dismiss the Action

        When all parties in an action are bound by an agreement to

arbitrate, the court has discretion to dismiss the action.              Alford

v. Dean Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir. 1992}.

Because         Plaintiff's claims must be      submitted to arbitration,

"retaining jurisdiction and staying the action will serve no

purpose.   11
                 See id. Accordingly, the court will dismiss this action

without prejudice.


                           IV.     Conclusion and Order

        For the reasons explained above, Defendant's Motion to Compel

(Docket Entry No. 4) is GRANTED.

        SIGNED at Houston, Texas, on this 21st day of September, 2021.




                                          SENIOR UNITED STATES DISTRICT JUDGE


                                        -11-
